Case 8:21-mj-00742-DUTY Document 2 Filed 11/01/21 Page1ofi Page ID#:2
Submit this form by e-mail to: F iL E D
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UNITED STATES DISTRICT COURT CLERK U.S. Gigi Riot COURI

CENTRAL DIST. GF CALIF.

 

CENTRAL DISTRICT OF CALIFORNIA SANTA AHA
py (yf e
CASE NUMBER:

UNITED STATES OF AMERICA

= PLAINTIFF SA 2 4-7 4 2M

 

{| ae, REPORT COMMENCING CRIMINAL

Sizmaw
Siem ACTION

USMS# DEFENDANT

 

 

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1. The defendant was arrested in this districton |} / \ / Apa | at O&.tb AM[] PM

 

or
The defendant was arrested in the CEnr24u Districtof Cao2nm on n/ 1 Jae at ¥2D [X] AME] PM

 

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or

any other preliminary proceeding: [] Yes JA. No
3. Defendant is in U.S. Marshals Service lock-up (in this court building): xX] Yes [] No
4, Charges under which defendant has been booked:
Yq v$c YosS@U Lanneersnce of Fryer coe GS Buse Yd) Appt Wt SPZEAW
ASL Pe ARS “Vt OI ren ae Te YVHarnO syTres.
5. Offense charged is a: Felony (| Minor Offense (] Petty Offense [-] Other Misdemeanor

6. Interpreter Required: [No [Yes Language:

 

7. Year of Birth: 2¢xp/

8. Defendant has retained counsel: i. No
E] Yes Name: Phone Number:

9. Name of Pretrial Services Officer notified: Dor ¥ (COFIZ STO
10. Remarks (ifany): So3y7 unm Rap Seccey mH Spr Boe 2p? \ :

 

 

 

 

11. Name: A. DAL t "hheeoe as (please print)

 

12. Office Phone Number: Oq2- - F/4- 48E ¢ 13. Agency: RI

14. Signature: we Seo 15. Date: u/ [2a
fe t

 

 

 

CR-64 (09/20) REPORT COMMENCING CRIMINAL ACTION
